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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


  In re Flint Water Cases.                  Judith E. Levy
                                            United States District Judge
  ________________________________/

  This Order Relates To:

  ALL CASES

  ________________________________/

     ORDER REGARDING BELLWETHER POOL REDUCTION

       The Court has received a report that the parties have, to date, taken

 the depositions of fourteen Plaintiffs from the first bellwether group. The

 circumstances caused by COVID-19 necessitate a reduction of the

 bellwether pool. The Court now orders that the bellwether pool be

 reduced to the fourteen Plaintiffs who have already been deposed. The

 parties may further reduce the number upon agreement.

       The Court previously asked for a report from the parties on the

 possibility of a bellwether pool reduction (ECF No. 1087), but because it

 has reached a decision, that report is no longer needed.

       IT IS SO ORDERED.

 Dated: March 23, 2020                    s/Judith E. Levy
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 Ann Arbor, Michigan                       JUDITH E. LEVY
                                           United States District Judge

                       CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or First Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on March 23, 2020.

                                           s/William Barkholz
                                           WILLIAM BARKHOLZ
                                           Case Manager




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